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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


FRANCES JEAN MOORE                                   CASE NO. 5:19-CV-00987

VERSUS                                               JUDGE ELIZABETH E. FOOTE

SOCIAL SECURITY ADMINISTRATION                       MAGISTRATE JUDGE KAREN L.
                                                     HAYES

                                         JUDGMENT

        The Report and Recommendation of the Magistrate Judge having been considered, no

objections thereto having been filed, and finding that same is supported by the law and the record

in this matter,

        IT IS ORDERED that defendant’s Rule 12(b)(1) motion to dismiss for lack of subject

matter jurisdiction [doc. # 10] is GRANTED.

        Shreveport, Louisiana, this _6th_____ day of ___November__________________ 2020.




                                                   _____________________________________
                                                    ELIZABETH E. FOOTE
                                                    UNITED STATES DISTRICT JUDGE
